        Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 1 of 15



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


IN RE PETROBRAS SECURITIES LITIGATION
                                                            No. 14-cv-9662 (JSR)
This Document Applies To:

In re Petrobras Securities Litigation, 14-cv-9662 (JSR)



     REPLY MEMORANDUM OF LAW OF PRICEWATERHOUSECOOPERS
   AUDITORES INDEPENDENTES IN FURTHER SUPPORT OF ITS MOTION TO
DISMISS THE CONSOLIDATED FOURTH AMENDED CLASS ACTION COMPLAINT


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       January 25, 2016
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            Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 2 of 15



                                                    TABLE OF CONTENTS

                                                                                                                                             Page

ARGUMENT .............................................................................................................................. 1

             I.         Plaintiffs Fail to State a Claim Under Section 10(b) of the
                        Exchange Act. .................................................................................................. 1

                        A.         Plaintiffs ignore the demanding standard for pleading
                                   auditor scienter. .................................................................................... 1

                        B.         Plaintiffs do not plead any facts relating to PwC Brazil’s
                                   2014 audit opinion. .............................................................................. 2

                        C.         Plaintiffs’ mere repetition of defective allegations fails to
                                   show scienter as to PwC Brazil’s 2012 and 2013 audit
                                   opinions................................................................................................ 3

                        D.         Plaintiffs have not identified any corrective disclosure
                                   regarding PwC Brazil’s 2012 or 2013 audit opinions.......................... 6

             II.        Plaintiffs Fail to State a Claim Under Section 11 of the Securities
                        Act.................................................................................................................... 6

CONCLUSION ......................................................................................................................... 10
           Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 3 of 15



                                             TABLE OF AUTHORITIES

                                                                                                                         Page(s)

Cases

Amorosa v. Ernst & Young LLP,
  682 F. Supp. 2d 351, 363 (S.D.N.Y. 2010)................................................................................6

Athale v. SinoTech Energy Ltd.,
   2014 WL 687218, at *8 (S.D.N.Y. Feb. 21, 2014) ....................................................................2

Coronel v. Quanta Capital Holdings Ltd.,
   2009 WL 174656, at *13 (S.D.N.Y. Jan. 26, 2009).................................................................10

Dutton v. Harris Stratex Networks Inc.,
   270 F.R.D. 171, 178 (D. Del. 2010) ..........................................................................................8

Fait v. Regions Fin. Corp.,
   655 F.3d 105, 113 (2d Cir. 2011).............................................................................................10

In re Advanced Battery Technologies, Inc.,
    781 F.3d 638, 644 (2d Cir. 2015)...............................................................................................1

In re Am. Int’l Grp., Inc., 2008 Sec. Litig.,
    2013 WL 1787567, at *5 (S.D.N.Y. Apr. 26, 2013)..................................................................8

In re AOL Time Warner, Inc. Sec. Litig.,
    503 F. Supp. 2d 666, 674-75 (S.D.N.Y. 2007) ..........................................................................8

In re Bear Stearns Cos., Inc. Sec., Derivative, & ERISA Litig.,
    763 F. Supp. 2d 423, 510, 512 (S.D.N.Y. 2011)........................................................................5

In re Lehman Bros. Sec. & ERISA Litig.,
    2015 WL 5514692, at *11 (S.D.N.Y. Sept. 18, 2015) ...............................................................8

In re Parmalat Sec. Litig.,
    501 F. Supp. 2d 560, 587 (S.D.N.Y. 2007)................................................................................3

In re Philip Servs. Corp. Sec. Litig.,
    383 F. Supp. 2d 463, 472, 475 (S.D.N.Y. 2004)........................................................................5

In re Puda Coal Sec. Inc., Litig.,
    30 F. Supp. 3d 230, 236, 259-60 (S.D.N.Y. 2014) ....................................................................8

Limited, Inc. v. McCrory Corp.,
   683 F. Supp. 387, 394 (S.D.N.Y. 1988).....................................................................................4
           Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 4 of 15



Maxwell v. KPMG LLP,
  520 F.3d 713, 716 (7th Cir. 2008) .............................................................................................9

Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pen. Fund,
  135 S. Ct. 1318, 1327-29, 1332 (2015)................................................................................7, 10

S.E. Pa. Transp. Auth. v. Orstown Fin. Servs., Inc.,
    2015 WL 3833849, at *1, 34 (M.D. Pa. June 22, 2015) ......................................................8, 10

Special Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu CPA, Ltd.,
   33 F. Supp. 3d 401, 427 (S.D.N.Y. 2014) .................................................................................4

Statutes

Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b)...........................................................1, 2, 6

Section 11 of the Securities Act, 15 U.S.C. § 77k ................................................................. passim

Auditing & Accounting Standards

International Accounting Standard 16 .............................................................................................8




                                                                ii
        Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 5 of 15



       PricewaterhouseCoopers Auditores Independentes (“PwC Brazil”) submits this reply

memorandum of law in further support of its motion to dismiss all claims directed against it in

the Consolidated Fourth Amended Class Action Complaint (“Compl.”) [ECF 342].

                                          ARGUMENT

I.     Plaintiffs Fail to State a Claim Under Section 10(b) of the Exchange Act.

       A.      Plaintiffs ignore the demanding standard for pleading auditor scienter.

       As set forth in PwC Brazil’s Motion (“Motion” or “Mot.”) [ECF 377], the standard for

pleading an independent auditor’s scienter is demanding (Mot. at 7-9), as recently reaffirmed by

the Second Circuit (In re Advanced Battery Techs., Inc., 781 F.3d 638 (2d Cir. 2015)). Plaintiffs

largely ignore these auditor-specific pleading requirements, and rehash allegations that fall short.
                                                                                         1
       Specifically, having failed to allege PwC Brazil’s motive to commit fraud, Plaintiffs

must plead PwC Brazil’s conscious recklessness, i.e., non-conclusory facts showing that PwC

Brazil “conduct[ed] an audit so deficient as to amount to no audit at all, or disregard[ed] signs of

fraud so obvious that the defendant must have been aware of them.” In re Advanced Battery,

781 F.3d at 644. Plaintiffs fail to engage with PwC Brazil’s showing that their allegations do not

meet this standard.

       Plaintiffs do not dispute or even address the point that Costa’s testimony on which they

rely shows that the payment scheme was virtually undetectable to an independent auditor: the

surcharges were not separately identifiable within individual contracts, and the bribe payments

were made by third parties and thus not reflected in Petrobras’ accounting records, which

necessarily were the basis of PwC Brazil’s audits. Mot. at 3, 5-6. Nor do Plaintiffs address cases


1
  Plaintiffs reiterate in a footnote that PwC Brazil had “every motivation” to commit fraud
because it received fees (Opp. at 4 n.6), but they do not address the case law squarely holding
that the receipt of professional fees is insufficient to show motive. Mot. at 9.
        Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 6 of 15



holding that, under these circumstances—i.e., when a scheme is only “discovered through

investigation of third-party entities”—plaintiffs “cannot show even negligence, let alone the

degree of recklessness required to adequately plead auditor scienter under the PSLRA.” Athale

v. SinoTech Energy Ltd., 2014 WL 687218, at *8 (S.D.N.Y. Feb. 21, 2014) (Mot. at 18).

       Additionally, Plaintiffs purport to acknowledge that the inference of scienter must be

“cogent and at least as compelling as any opposing inference one could draw from the facts as

alleged.” Opp. at 9 (quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 324

(2007)). But Plaintiffs never address the stronger competing inference that arises from their own

allegations: that PwC Brazil did not detect the payment scheme, not because of recklessness, but

because the scheme was collusively hidden by rogue employees and third parties. Mot. at 17-18.

       Instead, Plaintiffs assert that their Section 10(b) claim encompasses PwC Brazil’s 2014

audit opinion—despite not having pleaded any scienter allegations as to the 2014 audit (Opp. at

9-13). Plaintiffs then simply regurgitate their insufficient allegations as to the 2012 and 2013

audits, many of which are unconnected to PwC Brazil (id. at 13-18). This is distraction, not a

response to the demanding auditor scienter standard.

       B.     Plaintiffs do not plead any facts relating to PwC Brazil’s 2014 audit opinion.

       Contrary to Plaintiffs’ contention (Opp. at 9), PwC Brazil did argue that Plaintiffs fail to

allege “any scienter allegations concerning the 2014 audit.” Mot. at 18 n.15. PwC Brazil spent

little time addressing this point because it is obvious. In their Complaint, Plaintiffs have a

lengthy section titled “PwC’s Purposeful Blind Eye to the Fraud,” which contains the purported

“red flags” that PwC Brazil allegedly ignored in connection with its 2012 and 2013 audit

opinions. See Compl. ¶¶ 182-201. Nowhere in that section—or anywhere else in the Fourth

Amended Complaint—do Plaintiffs allege any purported “red flags” ignored by PwC Brazil

when issuing its 2014 audit opinion. Plaintiffs now point to ¶¶ 168-79 as their 2014 scienter

                                                2
          Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 7 of 15



allegations. Opp. at 9 n.8. Those paragraphs, however, do not mention PwC Brazil and are not

incorporated within the subsequent PwC “red flag” section of the Complaint.

          Instead, in these paragraphs, Plaintiffs contend that the Company’s $2.53 billion write-

down of its PP&E assets was understated and that a few Petrobras board members disagreed with

the methodology used for calculating the write-down amount and voted against release of the

Company’s 2014 financial statements. But Plaintiffs do not tie these allegations to any conduct

by PwC Brazil, much less to “facts constituting strong circumstantial evidence of conscious

misbehavior or recklessness” by PwC Brazil. In re Parmalat Sec. Litig., 501 F. Supp. 2d 560,

587 (S.D.N.Y. 2007). For example, there are no allegations that PwC Brazil failed to consider

the dissenting directors’ views, or that these views demonstrated that the majority position on
                                                             2
complex accounting issues was an obvious sign of fraud.          In sum, Plaintiffs chose not to make

any scienter allegations relating to PwC Brazil’s 2014 audit, and the allegations to which they

now point do not even mention PwC Brazil, much less satisfy the demanding scienter standard.

          C.     Plaintiffs’ mere repetition of defective allegations fails to show scienter as to
                 PwC Brazil’s 2012 and 2013 audit opinions.

          PwC Brazil demonstrated that the “red flags” alleged by Plaintiffs with respect to the

2012 and 2013 audit opinions were insufficient to establish a strong inference of scienter. Mot.

at 10-16. Plaintiffs’ Opposition does nothing to undermine this conclusion.

          As an initial matter, Plaintiffs try to overwhelm with a repetition of their payment scheme

allegations. Opp. at 4-8. But Plaintiffs do so without connecting these allegations to PwC

Brazil.    For example, Plaintiffs rehash their allegations about a Petrobras “whistleblower”

(Castro Sá) (Opp. at 6-7; citing Compl. ¶¶ 65-79), but the cited paragraphs do not even mention

2
 As discussed further below, the write down was itself necessarily an estimate. See 2014 20-F at
F-10 (Capra Decl. Ex. A) (“Petrobras developed a methodology to estimate the aggregate
amount that it overpaid under the payment scheme[.]”).

                                                   3
        Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 8 of 15



PwC Brazil. And the standard for pleading auditor scienter is not whether a plaintiff can create

an atmospheric that the auditor must have known about bad things at the company. See Limited,

Inc. v. McCrory Corp., 683 F. Supp. 387, 394 (S.D.N.Y. 1988) (“There is no indication of how

or when Touche became aware of facts that made the financial statements materially misleading.

Touche was not an insider at [the Company], and its knowledge cannot be inferred solely from

the fact that it was [the Company’s] auditor.”).

       Plaintiffs take a similar approach on their so called red-flag allegations. With respect to

the 2012 audit opinion, Plaintiffs do not dispute that they have not alleged that PwC Brazil

reviewed a June 2012 internal audit report or a November media report (Compl. ¶ 185). See

Special Situations Fund III QP, L.P. v. Deloitte Touche Tohmatsu CPA, Ltd., 33 F. Supp. 3d 401,

427 (S.D.N.Y. 2014) (“plaintiff must allege that the auditor had actual awareness of the red

flags”). And, regardless of PwC Brazil’s awareness, Plaintiffs have nothing to say regarding the

deficiencies in these allegations that PwC Brazil identified. Specifically, Plaintiffs do not allege

that the internal audit report identified cost overruns as anything other than just that. Mot. at 12.

Nor do they explain how a media report regarding the price Petrobras had paid for a refinery in

2006, years before PwC Brazil’s audits, showed that the Company’s 2012 financial statements

were materially misstated. Id. at 12-13. Instead, Plaintiffs merely repeat their allegations, and

then breathlessly refer to others that are unconnected to PwC Brazil. Opp. at 14-15.

       With respect to PwC Brazil’s 2013 audit opinion, Plaintiffs’ purported red-flags consist

of media reports—some of which were released after the issuance of the audit opinion—that

discussed investigations of Petrobras. Even assuming PwC Brazil was aware of such media

reports, they are not enough to give rise to a strong inference of scienter. As PwC Brazil noted,

Plaintiffs have not pleaded any facts showing that these announcements of the beginnings of



                                                   4
        Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 9 of 15



Petrobras investigations provided reliable evidence that illegal acts had caused the amounts in

the Company’s previously-audited financial statements to be materially misstated—much less

that PwC Brazil recklessly disregarded such evidence. Once again, Plaintiffs do not address this

point. Nor do they distinguish or even mention the cases in which courts generally reject
                                                                                               3
attempts to plead scienter based on contemporaneous media reports. See Mot. at 13 & n.12.

       Plaintiffs also do not respond to the competing inference that PwC Brazil identified in

this context: that once appropriate evidence came to light through the publication of Costa’s

testimony, PwC Brazil delayed issuing its review report on the Company’s third-quarter financial

statements for five months. Mot. at 15 (citing Compl. ¶ 418). In this light, Plaintiffs’ reliance on

In re Philip Servs. Corp. Sec. Litig., 383 F. Supp. 2d 463 (S.D.N.Y. 2004) (Opp. at 18), is

particularly misplaced. In that case, plaintiffs sufficiently alleged scienter based on red flags and

the audit firm’s desire “to avoid antagonizing” the company. Id. at 475. Here, by contrast,

Plaintiffs have alleged no such facts with respect to PwC Brazil. In fact, PwC Brazil reasonably
                                                                                      4
delayed review of the Company’s third-quarter financial statements. Compl. ¶ 418.


3
   Plaintiffs contend that PwC Brazil disregarded media reports of illegal activity when it
“reaffirmed” its 2013 audit opinion as part of its June 30, 2014 quarterly review. See Opp. at 15-
16. But Plaintiffs’ claim is based on PwC-Brazil’s audit opinions on year-end 2012 and 2013
financial statements. See Compl. ¶¶ 52, 182, 183. Plaintiffs also fail to allege facts showing that
PwC Brazil was aware of such media reports and, in any event, those reports were not a red flag
and basis for PwC Brazil to believe at that time that Petrobras’ previously reported financial
statements were materially misstated.
4
  Additionally, unlike here, the Philip red flags consisted of particularized allegations showing
conscious recklessness, such as that an individually-named auditor had advised the company that
its revenue recognition practices violated GAAP, but the auditor did not require the company to
correct its financial statements. Philip, 383 F. Supp. 2d at 472. Also misplaced is Plaintiffs’
reliance on In re Bear Stearns Cos., Inc. Sec., Derivative, & ERISA Litig., 763 F. Supp. 2d 423
(S.D.N.Y. 2011) (Opp. at 13 & n.16). That court found scienter adequately alleged based on the
auditor’s “awareness of red flags,” id. at 512, and the red flags were actually colorful, such as
“warn[ings] by the SEC that [the Company’s] VaR models failed to reflect key indicators in the
housing market,” id. at 510. Plaintiffs here make no such allegations.

                                                 5
        Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 10 of 15



       Accordingly, the Section 10(b) claim against PwC Brazil should be dismissed for failure

to plead scienter.

       D.      Plaintiffs have not identified any corrective disclosure regarding PwC
               Brazil’s 2012 or 2013 audit opinions.

       In its Motion (at 18-19), PwC Brazil demonstrated that in order to establish loss causation

against an auditor, plaintiffs must plead that “the market reacted negatively to some disclosure

correcting the falsity in the . . . auditor’s statements (and not simply the underlying fraud).”

Amorosa v. Ernst & Young LLP, 682 F. Supp. 2d 351, 363 (S.D.N.Y. 2010) (emphasis added)

(citing Lentell, 396 F.3d at 175). The Complaint fails to identify any such corrective disclosure

with respect to any public statement made by PwC Brazil. In fact, the only article or report that

even mentions PwC Brazil concerns its deferring the issuance of a review report on Petrobras’

third quarter 2014 financial statements, which is obviously not a corrective disclosure. In their

Opposition, Plaintiffs still fail to identify any corrective disclosure with respect to PwC Brazil’s

statements. Instead, Plaintiffs allude to loss resulting from disclosure-correcting statements

made by Petrobras. Even assuming that were enough with respect to Petrobras, that is not

enough to establish loss causation against PwC Brazil. Accordingly, Plaintiffs’ Section 10(b)

claim should be dismissed for this additional reason.

II.    Plaintiffs Fail to State a Claim Under Section 11 of the Securities Act.

       Plaintiffs’ Opposition confirms that the remaining Section 11 claims of North Carolina

and Hawaii should be dismissed for failure to plead a material misstatement or omission of fact
                     5
as to PwC Brazil. See 15 U.S.C. § 77k.




5
  Plaintiffs do not dispute that the Section 11 claims of lead Plaintiff USS and Union, and all
claims based on 2014 Note-purchases after May 15, 2015, must be dismissed. See Mot. at 20.

                                                 6
       Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 11 of 15



       PwC Brazil showed that Plaintiffs have failed to plead facts showing that the 2012 and

2013 audit opinions were false or misleading factual statements. Mot, at 20-25. Plaintiffs barely

address PwC Brazil’s audit opinions and do not dispute that: (1) these are opinions; (2)

Plaintiffs’ disclaimer of scienter forecloses any claim of subjective falsity; (3) PwC Brazil did

not supply any untrue fact as the basis for its opinions; and, accordingly, (4) Plaintiffs have not

pleaded a misstatement. See Mot. at 23-24; Omnicare, Inc. v. Laborers Dist. Council Constr.

Indus. Pension Fund, 135 S. Ct. 1318, 1327 (2015).

       Instead, Plaintiffs argue that PwC Brazil’s opinions “omitted numerous material facts.”

Opp. at 24 (emphasis added). But that is not what Plaintiffs originally pleaded. See Compl.

¶ 652 (alleging misstatements, not omissions). In any event, this unpleaded contention fails: an

opinion statement is only actionable as an omission when plaintiffs “identify particular (and

material) facts going to the basis for the [speaker’s] opinion—facts about the inquiry the

[speaker] did or did not conduct or the knowledge it did or did not have—whose omission makes

the opinion statement at issue misleading.” Omnicare, 135 S. Ct. at 1332. Plaintiffs claim they

have done so based on Complaint paragraphs 185-87 and 632-47. Opp. at 24. But Plaintiffs

have explicitly excluded the first set of allegations (¶¶ 185-87) from their Securities Act claims.
                    6
See Compl. ¶ 502.       And the second set of allegations (¶¶ 632-47) are wholly conclusory, e.g.:

“PwC failed to exercise sufficient professional care in its audits of Petrobras’ financial

statements, and thus violated GAAS General Standard No. 3[.]” Id. ¶ 635. A plaintiff may not

allege an omission “merely by means of conclusory assertions.” Omnicare, 135 S. Ct. at 1332

(citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).
6
  Plaintiffs inconsistently assert that these allegations (¶¶ 185-187) are both excluded and
included in their Securities Act claims. Compare Opp. at 24 (citing Compl. ¶ 637) with Compl.
¶ 502. But even if included, these allegations—concerning an internal audit report and media
reports—hardly show that PwC lacked a reasonable basis for its opinions. See Mot. at 11-15, 25.

                                                  7
        Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 12 of 15



        Shifting gears, Plaintiffs focus on Petrobras’ statements in the financial statements—

despite acknowledging that their Section 11 claim is not clearly addressed to them. Opp. at 22

n.24. In any event, Plaintiffs argue that: (1) they have alleged that Petrobras’ PP&E assets were

overstated “due to inflated costs and improper payments” (Opp. at 22); (2) the alleged PP&E

overstatements were “verifiable facts—not opinions” (id.); and (3) PwC Brazil “certified” the

financial statements and thus is “strictly liable” for these alleged errors (id. at 22-23).

        As an initial matter, an audit opinion does not “certify” a company’s financial statements,

in the sense of guaranteeing their accuracy, because an audit provides only reasonable, not

absolute, assurance. See Mot. at 21 & nn.17-18. But even if the Court accepts that PwC Brazil

may be liable for factual misstatements or omissions in the Company’s audited financial
                                               7
statements, Plaintiffs’ argument falls flat.       As is apparent from the accounting principles cited,

Petrobras’ alleged accounting misstatements implicate matters of opinion, not fact. See In re

Am. Int’l Grp., Inc., 2008 Sec. Litig., 2013 WL 1787567, at *5 (S.D.N.Y. Apr. 26, 2013) (the

court decides whether “accounting principles” implicate matters of fact or opinion).

        Specifically, Plaintiffs allege that Petrobras’ PP&E assets were overstated because it

capitalized inflated payments it made to acquire or develop certain assets. Compl. ¶¶ 97, 163,

168-69, 171. Plaintiffs themselves, however, acknowledge that Petrobras actually paid these

amounts to third parties and that, under IAS 16, the costs to purchase such assets are capitalized.

Id. ¶ 160 (IAS 16 “requires an asset be measured at its cost”). Whether the cost the company
7
  While Plaintiffs are correct that some courts have held an auditor responsible for factual
misstatements in a company’s audited financial statements (In re Lehman Bros. Sec. & ERISA
Litig., 2015 WL 5514692, at *11 (S.D.N.Y. Sept. 18, 2015)), other courts have disposed of
Section 11 claims based solely on the auditor’s own opinions, which PwC Brazil submits is the
better view. See S.E. Pa. Transp. Auth. v. Orstown Fin. Servs., Inc., 2015 WL 3833849, at *1,
34 (M.D. Pa. June 22, 2015); In re Puda Coal Sec. Inc., Litig., 30 F. Supp. 3d 230, 236, 259-60
(S.D.N.Y. 2014); Dutton v. Harris Stratex Networks Inc., 270 F.R.D. 171, 178 (D. Del. 2010); In
re AOL Time Warner, Inc. Sec. Litig., 503 F. Supp. 2d 666, 674-75 (S.D.N.Y. 2007).

                                                      8
       Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 13 of 15



decided to pay, in its business judgment, was too much or too little is not itself an accounting
                                                                              8
issue, because auditors do not opine on whether a company made a good deal. Instead, auditors

are concerned with whether a company’s financial statement assertions materially comply with

the applicable accounting principles or standards.

       In this regard, the entire thrust of Plaintiffs’ accounting allegations is that Petrobras’

PP&E assets were overstated because they should have been written-down in amounts greater

than the Company recognized after revelation of the scheme, and that the impairment charges

ultimately taken in the fourth quarter of 2014 represent the additional amounts that should have

been written-down. Id. ¶ 171 (alleging that “impairment charges” “provide a glimpse into the

real magnitude of the scheme”). But whether an asset is impaired, and the amount of any

impairment, depends on a complex estimation: an impairment is recognized if the asset’s “value

in use”—i.e., “the discounted present value of the future cash flows expected from the continued

use of the asset”—is lower than its PP&E carrying value. Id. ¶ 161. As the Company disclosed,

the “assessment of the value in use of an asset involves the use of estimates on uncertain

assumptions,” such as: “future commodity prices”; an “estimate of the useful life of the assets”;

and “budgets, forecasts and assumptions approved by management,” among others.               See
                                                                    9
Petrobras 2013 20-F at 103, F-20, F-43 (Capra Supp. Decl. Ex. A).

       In other words, from an accounting perspective, whether the Company’s PP&E assets

were impaired as to 2012 and 2013 was a matter of opinion. And, unless the auditor disbelieves

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  See Maxwell v. KPMG LLP, 520 F.3d 713, 716 (7th Cir. 2008) (“It was not [the auditor’s] duty
to give the company business advice, such as advice on whether to acquire another company.”).
9
  Indeed, the impairment analysis is even more complex because Petrobras performed it on its
cash-generating units as a whole, not on each individual unit. Therefore, even an alleged
overpayment as to a particular asset would not itself be a basis for recoding an impairment if
estimated future cash flows as a whole continued to exceed the recorded PP&E assets. See
Petrobras 2013 20-F at F-25, F-26, F-43 (Capra Supp. Decl. Exh. A).

                                                9
       Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 14 of 15



its own opinions, it cannot be held strictly liable for a Company’s opinions that turn out to be

wrong. See Fait v. Regions Fin. Corp., 655 F.3d 105, 113 (2d Cir. 2011) (dismissing Section 11

claim against auditor based on company’s loan loss reserve estimates); see also Omnicare, 135

S. Ct. at 1328 (“Reasonable investors do not understand [opinion] statements as guarantees[.]”).

       Plaintiffs may argue that the portions of the overpayments used by third parties to pay

bribes, i.e., the “three percent political adjustment” (Compl. ¶ 82), should undoubtedly have been

written down (as they subsequently were, in an immaterial amount). But such an assertion is

based on the subsequent discovery of these third-party payments and hindsight is no basis for a

Section 11 claim against an auditor. See S.E. Pa. Transp. Auth., 2015 WL 3833849, at *34

(dismissing claim because confidential witness allegations were unknown to auditor and

“omissions or statements that create a misleading impression in hindsight” do not provide basis

for Section 11 liability); see generally Omnicare, 135 S. Ct. at 1329 (opinion statement is not

false when it “fairly aligns with the information in the [speaker’s] possession at the time”)

(emphasis added); Coronel v. Quanta Capital Holdings Ltd., 2009 WL 174656, at *13 (S.D.N.Y.

Jan. 26, 2009) (plaintiff must allege facts showing “that the Company knew or had reason to

believe, at the time the Prospectus and Registration Statement were filed, that the statement was

untrue”). The Court should dismiss the Section 11 claim as to PwC Brazil.

                                        CONCLUSION

       For all the foregoing reasons, the Court should dismiss all claims directed against PwC

Brazil in the Consolidated Fourth Amended Class Action Complaint.




                                               10
      Case 1:14-cv-09662-JSR Document 411 Filed 01/25/16 Page 15 of 15



Dated: New York, New York
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                                     11
